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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                              Western District
                                             __________        of of
                                                        District  Wisconsin
                                                                     __________


                     Amy Childers, et al.,                     )
                             Plaintiff                         )
                                v.                             )      Case No. 20-CV-107
                      Menard Inc., et al.                      )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Menard, Inc.                                                                                                  .


Date:          03/19/2020                                                              /s/ Andrew C. Nordahl
                                                                                         Attorney’s signature


                                                                                 Andrew C. Nordahl (6226999 - IL)
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